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4
     Attorney for Defendant,
5    Karl Davidson
6
        UNITED STATES DISTRICT COURT, NORTHERN DISTRICT OF CALIFORNIA
7
                            SAN FRANCISCO DIVISION
8

9
     UNITED STATES OF AMERICA,                           NO. 15-CR-00132 EMC
10

11          Plaintiff,                                   STIPULATION AND PROPOSED
                                                         ORDER REGARDING
12                                                       SCHEDULING OF FORM 12
            vs.                                          PROCEEDINGS
13

14
     KARL FREDRIK DAVIDSON,
15

16
            Defendant.

17
            Defendant, Karl Davidson, by and through his counsel, Alanna Coopersmith, and the
18
     Government, by and through Assistant United States Attorney, Joseph Tartakovsky, stipulate and
19
     agree as follows:
20
            A status hearing to address the pending amended Form 12 petition is scheduled for
21
     August 4, 2022.
22
            Mr. Davidson is in custody.
23
            In view of the parties’ respective investigations and discussions among counsel, the
24
     parties expect to be able to proceed with a disposition hearing at the August 4, 2022 court date.
25
            The parties propose that the August 4, 2022 status hearing be converted to a consolidated
26
     admission and disposition hearing, with dispositional memoranda to be filed by July 28, 2022.
27

28


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                                                     -1-
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1           In the alternative, the parties propose that the August 4, 2022 status hearing be converted
2    to an admissions hearing, with a disposition hearing date scheduled expeditiously thereafter.
3           IT IS SO STIPULATED.
4

5    DATED:       7/6/2022                                       Respectfully submitted,
6
                                                                 STEPHANIE M. HINDS
7                                                                United States Attorney

8
                                                                   /s/ Joseph Tartakovsky
9
                                                                 JOSEPH TARTAKOVSKY
10                                                               Assistant United States Attorney

11

12
     DATED:      7/6/2022
                                                                  /s/ Alanna Coopersmith
13                                                               ALANNA COOPERSMITH
                                                                 Attorney for Defendant,
14
                                                                 Karl Davidson
15

16                                       [PROPOSED] ORDER
17          Upon consideration of the foregoing, it is hereby ORDERED that the status hearing
18
     currently scheduled for August 4, 2022 be converted to a consolidated admission and disposition
19
     hearing, with any written admissions agreement and dispositional memoranda to be filed by July
20
     28, 2022.
21
            IT IS SO ORDERED.
22           July 7, 2022
     DATED: __________________
23

24                                                         __________________________________
                                                           HON. EDWARD M. CHEN
25                                                         United States District Court Judge
26

27

28


                              15-CR-00132 STIPULATION AND [PROPOSED] ORDER
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